     Case 5:17-cv-02249-JGB-KK Document 1 Filed 11/02/17 Page 1 of 7 Page ID #:1




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                          UNITED STATES DISTRICT COURT

11                      CENTRAL DISTRICT OF CALIFORNIA
12
13   DIANA CRAWFORD,                            Case No.: 5:17-cv-2249

14                Plaintiff,
                                                COMPLAINT AND DEMAND FOR
15         vs.                                  JURY TRIAL
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17   COMENITY , LLC dba COMENITY
     CAPITAL BANK,
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                  Defendant(s).
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                                    INTRODUCTION
21
           1.     DIANA CRAWFORD (Plaintiff), through her attorneys, brings this
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     action to secure redress from COMENITY , LLC dba COMENITY CAPITAL
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     BANK (Defendant) for violations of the Equal Credit Opportunity Act, 15 U.S.C.
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     1691 et seq. (“ECOA”) and the Rosenthal Fair Debt Collection Practices Act, Cal.
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     Civ. § 1788 et seq. (“RFDCPA”)
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           2.     Plaintiff brings this Complaint for damages, injunctive relief, and any
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     other available legal or equitable remedies, resulting from the illegal actions of
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     Defendant in taking an “adverse action” as defined by the ECOA against Plaintiff
                                               -1-

                                                                  COMPLAINT FOR DAMAGES
     Case 5:17-cv-02249-JGB-KK Document 1 Filed 11/02/17 Page 2 of 7 Page ID #:2




 1   and her credit account and failing to provide Plaintiff with the requisite written
 2   notice advising of said “adverse action” and a written explanation to why such
 3   action took place. Plaintiff also seeks damages and any other available legal or
 4   equitable remedies resulting from Defendant’s unlawful and abusive debt
 5   collection practices against Plaintiff such as seeking the collection of an amount of
 6   alleged debt not authorized per parties or contract and for placing repeated and
 7   harassing telephone calls seeking to collect such debt. Plaintiff alleges as follows
 8   upon personal knowledge as to herself and her own acts and experiences, and, as
 9   to all other matters, upon information and belief, including investigation conducted
10   by her attorneys.
11                             JURISDICTION AND VENUE
12          3.     This Court has jurisdiction under 28 U.S.C. 1331, because this action
13   is brought pursuant to the ECOA, 15 U.S.C. 1691 et seq.
14          4.     Jurisdiction of this Court arises pursuant to 15 U.S.C. 1691(e)(f),
15   which states that, “Any action under this section may be brought in the appropriate
16   United States district court without regard to the amount in controversy, or in any
17   other court of competent jurisdiction.”
18          5.     Venue and personal jurisdiction in this District are proper pursuant to
19   28 U.S.C. 1391(b) because Defendant, a corporation, maintains a business offices
20   throughout California and does or transacts business within this District and
21   Plaintiff resides within this district.
22          6.     Plaintiff is a natural person residing in Riverside County, State of
23   California.
24          7.     Defendant is a corporation with its State of Incorporation being Ohio.
25                               FACTUAL ALLEGATIONS
26          8.     On or about February, 2016, Plaintiff applied for and was approved
27   for an extension of credit for a PayPal Credit account, which is funded and serviced
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                                                -2-

                                                                   COMPLAINT FOR DAMAGES
     Case 5:17-cv-02249-JGB-KK Document 1 Filed 11/02/17 Page 3 of 7 Page ID #:3




 1   by Defendant. The amount of credit extended to Plaintiff upon review and approval
 2   of his application was $3,000.00.
 3             9.    Plaintiff then utilized this extension of credit from Defendant to
 4   purchase “points” for her and her husband’s timeshare agreement with Worldmark.
 5             10.   From February 2016 through June 2017, Plaintiff made all necessary
 6   payments on her credit account with Defendant.
 7             11.   However, in May of 2017, while disputing a particular charge via
 8   telephone with Defendant, it was discovered that Plaintiff and her husband
 9   inadvertently miswrote the last 4 digits of her husband’s Social Security Number
10   on his application (notwithstanding the fact that Plaintiff’s husband otherwise
11   qualified for and was approved for the $6,000.00 credit extension despite this
12   error).
13             12.   Both Plaintiff and her husband made significant efforts with
14   Defendant to simply cure the inadvertent typographical error by providing
15   Plaintiff’s husband’s full and accurate Social Security Number.
16             13.   However, Defendant refused to accept the correct Social Security
17   Number and threatened Plaintiff with immediate transfer of the balance on her
18   husband’s credit account over to her own account without further delay or
19   explanation.
20             14.   In June 2017, Plaintiff reviewed her online account and discovered
21   that Defendant did indeed close Plaintiff’s husband’s account. What is more,
22   Defendant inexplicably made the unilateral decision to transfer Plaintiff’s
23   husband’s balance directly over to Plaintiff’s credit account without permission,
24   without legal justification, and without any further notice.
25             15.   To date, Defendant has never provided Plaintiff with written notice of
26   the transfer of balance to her account, and/or any written explanation as to why
27   Defendant took such action.
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                                                 -3-

                                                                    COMPLAINT FOR DAMAGES
     Case 5:17-cv-02249-JGB-KK Document 1 Filed 11/02/17 Page 4 of 7 Page ID #:4




 1          16.   The change of terms of an existing credit account constitutes an
 2   “adverse action” as defined by 15 U.S.C. § 1691(d)(6).
 3          17.   As such, pursuant to 15 U.S.C. § 1691(d)(2), “Each applicant against
 4   whom adverse action is taken shall be entitled to a statement of reasons for such
 5   action from the creditor. A creditor satisfies this obligation by—
 6   (A) providing statements of reasons in writing as a matter of course to applicants
 7   against whom adverse action is taken; or
 8   (B) giving written notification of adverse action which discloses (i) the applicant’s
 9   right to a statement of reasons within thirty days after receipt by the creditor of a
10   request made within sixty days after such notification, and (ii) the identity of the
11   person or office from which such statement may be obtained. Such statement may
12   be given orally if the written notification advises the applicant of his right to have
13   the statement of reasons confirmed in writing on written request.”
14          17.   Thus, Defendant’s conduct is in direct violation of the ECOA.
15          18.   As a result of Defendant’s conduct, Plaintiff has suffered damages in
16   the form of lost credit opportunities, loss of available credit, further expenditure of
17   household finances due to the increase in payments requested by Defendant,
18   needles expenditure of time in attempting to rectifying this issue to no fault of her
19   own, and various other tangibles and intangibles to be determined by the fact finder
20   at Trial.
21          19.   Further, beginning in July of 2017, Defendant began placing constant
22   and continuous collection calls to Plaintiff seeking to collect the now unlawfully
23   enlarged balance.
24          20.   Defendant placed upwards of six (6) or more collection calls in a
25   single day to Plaintiff on a virtual daily basis throughout July and August of 2017.
26          21.   Defendant’s intentions were to harass and annoy Plaintiff via the
27   onslaught of calls into making further payment on the unlawfully enlarged account.
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                                                -4-

                                                                    COMPLAINT FOR DAMAGES
     Case 5:17-cv-02249-JGB-KK Document 1 Filed 11/02/17 Page 5 of 7 Page ID #:5




 1                                        COUNT I:
 2   DEFENDANT VIOLATED THE EQUAL CREDIT OPPORTUNITY ACT
 3         22.    As described above, Defendant’s conduct constitutes violations of the
 4   ECOA, 15 U.S.C. § 1691, et seq.
 5         23.    The change of terms of an existing credit account constitutes an
 6   “adverse action” as defined by 15 U.S.C. § 1691(d)(6).
 7         24.    As such, pursuant to 15 U.S.C. § 1691(d)(2), “Each applicant against
 8   whom adverse action is taken shall be entitled to a statement of reasons for such
 9   action from the creditor. A creditor satisfies this obligation by—
10   (A) providing statements of reasons in writing as a matter of course to applicants
11   against whom adverse action is taken; or
12   (B) giving written notification of adverse action which discloses (i) the applicant’s
13   right to a statement of reasons within thirty days after receipt by the creditor of a
14   request made within sixty days after such notification, and (ii) the identity of the
15   person or office from which such statement may be obtained. Such statement may
16   be given orally if the written notification advises the applicant of his right to have
17   the statement of reasons confirmed in writing on written request.”
18                                        COUNT II:
19           DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT
20                          COLLECTION PRACTICES ACT
21         25.    Plaintiff incorporates by reference all of the above paragraphs of this
22   Complaint as though fully stated herein.
23         26.    Defendant violated the RFDCPA. Defendant’s violations include, but
24   are not limited to, the following:
25         (a)    Defendant violated CAL. CIV. CODE § 1788.11(d) by causing a
26   telephone to ring repeatedly or continuously to annoy the person called; and
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                                                -5-

                                                                   COMPLAINT FOR DAMAGES
     Case 5:17-cv-02249-JGB-KK Document 1 Filed 11/02/17 Page 6 of 7 Page ID #:6




 1            (b)   Defendant violated CAL. CIV. CODE § 1788.11(e) by communicating,
 2   by telephone or in person, with the debtor with such frequency as to be
 3   unreasonable and to constitute an harassment to the debtor under the circumstances;
 4            (c)   Defendant violated CAL. CIV. CODE § 1788.17 by collecting or
 5   attempting to collect a consumer debt without complying with the provisions of
 6   Sections 1692b to 1692j, inclusive, of . . . Title 15 of the United States Code (Fair
 7   Debt Collection Practices Act).
 8            27.   Defendant’s acts, as described above, were done intentionally with the
 9   purpose of coercing Plaintiff to pay the alleged debt.
10            28.   As a result of the foregoing violations of the RFDCPA, Defendant is
11   liable to Plaintiff for actual damages, statutory damages, and attorney’s fees and
12   costs.
13                                 PRAYER FOR RELIEF
14            WHEREFORE, Plaintiff, DIANA CRAWFORD respectfully requests
15   judgment be entered against Defendant, COMENITY CAPITAL BANK, for the
16   following:
17            29.   Actual damages per Statute;
18            30.   Statutory damages per Statute;
19            31.   Punitive Damages per Statute;
20            32.   Costs and reasonable attorneys’ fees per Statute;
21            33.   For prejudgment interest at the legal rate; and
22            34.   Any other relief this Honorable Court deems appropriate.
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                                                                      COMPLAINT FOR DAMAGES
     Case 5:17-cv-02249-JGB-KK Document 1 Filed 11/02/17 Page 7 of 7 Page ID #:7




 1                                    TRIAL BY JURY
 2         Pursuant to the seventh amendment to the Constitution of the United States
 3   of America, Plaintiff is entitled to, and demands, a trial by jury
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 6                                           RESPECTFULLY SUBMITTED,
 7   Dated: November 2, 2017                 MARTIN & BONTRAGER, APC
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 9                                           By: /s/ Nicholas J. Bontrager
10                                                    Nicholas J. Bontrager
11                                                    Attorney for Plaintiff
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                                                                     COMPLAINT FOR DAMAGES
